                  Case 1-20-42730-nhl               Doc 1-6           Filed 07/24/20             Entered 07/24/20 16:50:02




                     CREDITOR                                                       ADDRESS                                                    AMOUNT
Secured:

ALLY FINANCIAL INC./ ALLY BANK                    ALLY DETROIT CENTER 500 WOODWORD AVE DETROIT MICHIGAN 48226                              $    18,523,718.73
ALLY FINANCIAL INC./ ALLY BANK                    6985 UNION PARK CENTER SUITE 435 MIDVALE UTAH 84047                                      For notice purposes
ALLY FINANCIAL INC./ ALLY BANK                    3104 UNIONVILL TOAD CRANBERRY TWP PA 16066                                               For notice purposes
ALLY FINANCIAL INC./ ALLY BANK                    C/O BRETT GOODMAN TROUTMAN PEPPER ET AL 875 THIRD AVE NY NY 10022                        For notice purposes
                                                                                                                               TOTAL
                                                                                                                               SECURED     $    18,523,718.73

Priority Taxes:

DEPT OF TREASURY                                  INTERNAL REVENUE SERVICE PO BOX 7346 PHILADELPHIA PA 19101-7346                          $        97,958.45
NYC DEPARTMENT OF FINANCE                         BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $           530.00
NYC DEPARTMENT OF FINANCE                         BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $         4,110.47
NYS ASSESSMENT RECEIVABLES                        P.O. BOX 4127 BINGHAMTON NY 13902                                                        $            60.00
NYS CHILD SUPPORT PROCESSING C                    PO BOX 15363 ALBANY NY 12212                                                             $            73.00
NEW YORK STATE SALES TAX(NEW YORK CITY)           BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $       388,133.70
NEW YORK STATE SALES TAX(waste tire fee)          BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $           375.00
NEW YORK STATE SALES TAX(NASSAU COUNTY)           BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $        22,537.26
NEW YORK STATE SALES TAX(ORANGE COUNTY)           BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $         3,377.97
NEW YORK STATE SALES TAX(ROCKLAND COUNTY)         BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $         3,784.65
NEW YORK STATE SALES TAX(SUFFOLK)                 BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $         7,661.43
NEW YORK STATE SALES TAX(SULLIVAN COUNTY)         BANKRUPTCY/SPECIAL PROCEDURE PO BOX 5300 ALBANY NY 11205-0300                            $         3,344.02
                                                                                                                                 TOTAL
                                                                                                                                PRIORITY   $       531,945.95

Unsecured:

1614-1626 86TH STREET                             9732 3RD AVE BROOKLYN NY 11209                                                           $        51,786.06
2803-2811 CONEY ISLAND REALI                      2885 CONEY ISLAND AVENUE BROOKLYN NY                                                     $        44,000.00
31 AUTO COLLISION INC                             8691 18TH AVE BROOKLYN NY 11214                                                          $            135.00
34 LINDEN REALTY COMPANY LLC                      12 BUCKRAM RD LOCUST VALLEY NY 11560                                                     $       360,912.60
8635 LLC                                          118 91ST STREET BROOKLYN NY 11209                                                        $       250,413.31
8699 18TH AVE, LLC                                1406 73RD ST BROOKLYN NY 11228                                                           $        40,170.00
A THRU Z DMV SERVICES                             4021 14TH AVE BROOKLYN NY 11218                                                          $            709.00
AB&S AUTO PARTS                                   120 FIELDCREST AVE EDISON NJ 08837                                                       $            692.56
ABIC WARRANTY TRUST                               10800 PECAN PARK BLVD SUITE 410 AUSTIN TX 78750                                          $          2,381.00
ACE SERVICE & INSTALLATION                        69 GAZZA BLVD FARMINGDALE NY 11735                                                       $          1,065.89
AFFINITIV, INC                                    29554 NETWORK PLACE CHICAGO IL 60673                                                     $          5,635.40
ALEXANDR KORSUNSKY                                7902 19TH AVENUE BROOKLYN NY 11214                                                       $          3,500.00
ALLDATA                                           P.O. BOX 848379 DALLAS TX 75284                                                          $            974.45
ALLSTATE LIFE INSURANCE CO.                       PO BOX 678301 DALLAS TX 75265                                                            $          1,199.65
ALLY BANK                                         LOCKBOX #9352 PO BOX 8500 PHILADELPHIA PA 19178-9352                                     $     2,160,714.41
ALLY BANK                                         6985 UNION PARK CENTER SUITE 435 MIDVALE UTAH 84047                                      For notice purposes
ALLY BANK                                         C/O BRETT GOODMAN TROUTMAN PEPPER ET AL 875 THIRD AVE NY NY 10022                        For notice purposes
ALPHA AUTO CONSULTING INC                         1924 OCEAN AVE BROOKLYN NY 11230 PH-A                                                    $          1,116.00
AMERICAN TIRE DISTRIBUTORS                        P.O. BOX 745576 ATLANTA GA 30374-5576                                                    $          1,562.91
AMERICREDIT                                       ATTN PAYMENT PROCESSING ARLINGTON TX 76014 4001 EMBARCADERO                              $            265.00
ANTHONY PINEDA                                    C/O HARMON LINDER & ROGOWSKY 3 PARK AVENUE SUITE 2300 NY NY 10016                        Unliquidated
ARMADA WASTE NY D/B/A FIVE STAR CARTING           535 WEST 24 ST FLOOR 6 NEW YORK NY 10011                                                 $          2,025.96
AUTO DIRECT MARKETING & ADVERT                    AUTO MERCHANDISING DEPOT 27 CARDINAL RD WESTON CT 06883                                  $            434.22
AUTOALERT LLC                                     PO BOX 845666 LOS ANGELES CA 90084                                                       $          6,583.99
AUTOTRADER.COM                                    PO BOX 932207 ATLANTA GA 31193-2207                                                      $        10,800.00
AUTOZONE, INC.                                    PO BOX 116067 ATLANTA GA 30368-6067                                                      $          9,216.74
BALLOON PROMOTIONS                                30 SHERWOOD LANE SUITE F FAIRFIELD NJ 07004                                              $            205.77
BANK DIRECT CAPITAL FINANCE                       PO BOX 660448 DALLAS TX 75266                                                            $        25,544.66
BANK OF AMERICA                                   PO BOX 15284 WILMINGTON DE 19850                                                         $          2,848.92
BANK OF AMERICA                                   PO BOX 25118 TAMPA FL 33622-5118                                                         For notice purposes
BLACKHAWK AQUISITION DBA PROMAX                   C/O MB&W BLDG 26000 CANNON RD. CLEVELAND OH 44146                                        $          5,715.61
BOITEL, JOSEPH                                    PO BOX 50001 STATEN ISLAND NY 10305                                                      $          3,600.00
BONINI, JOHN AND CANDID                           1625 86TH ST BROOKLYN NY 11214                                                           $        15,500.00
BROADFEET MOTORSPORT EQUIPMENT                    110 JERICHO TURNPIKE NEW HYDE PARK NY 11040                                              $            480.00
BWL ASSOCIATES INC.                               1303 53RD ST #125 BROOKLYN NY 11219                                                      $         1,760.00
CABLEVISION                                       PO BOX 70340 PHILADELPHIA PA 19176                                                       $         1,398.67
CALLSOURCE,LLC                                    PO BOX 60280 LOS ANGELES CA 90060-0280                                                   $         1,264.00
CAPITAL ONE AUTO FIN SVCS                         2525 CORPORATE PLACE 2ND FL SUITE 25 MONTERREY PARK CA 91754                             $         9,273.24
CAPITAL ONE, N.A D/B/A CAPITAL ONE AUTO FINANCE   C/O MCGUIRE WOODS 2001 K STREET N.W. SUITE 400 WASHINGTON D.C. 20006-10740               $       116,828.04
CARGURUS LLC                                      PO BOX 419008 BOSTON MA 02241-9008                                                       $         7,920.00
CARSFORSALE.COM, INC.                             P.O. BOX 91537 SIOUX FALLS SD 57109                                                      $           396.00
CHECK CENTER                                      PO BOX 6008 PETALUMA CA 94955-6008                                                       $         3,083.71
CHRYSLER CAPITAL                                  5201 RUFE SNOW DR STE 400 NORTH RICHLAND TX 76180                                        $       150,509.12
CITRIN COOPERMAN                                  529 FIFTH AVE NEW YORK NY 10017                                                          $        11,500.00
CLASSIC SIGNS & DESIGNS                           1367 65TH ST BROOKLYN NY 11219                                                           $           375.92
CON EDISON                                        PO BOX 1702 NEW YORK NY 10116-1702                                                       $        21,003.76
COOK MARAN & ASSOCIATES                           461 PANTIGO ROAD EAST HAMPTON NY 11937                                                   $        17,829.85
CREDIT BUREAU CONNECTION                          575 E. LOCUST AVE SUITE 103 FRESNO CA 93720                                              $         1,069.97
CROWN AUTO CENTER                                 133-38 32ND AVE FLUSHING NY 11354                                                        $         4,300.00
DEALERTRACK                                       P.O. BOX 6129 NEW YORK NY 10249                                                          $        32,513.20
DENT TERMINATOR                                   717 TOMPKINS AVE STATEN ISLAND NY 10305                                                  $           140.00
DOWC ADMIN SERVICES liqu damages                  PO BOX 194 ROSELAND NJ 07068                                                             $       250,000.00
DOWC ADMIN SERVICES loan                          PO BOX 194 ROSELAND NJ 07068                                                             $       822,630.41
DOWC ADMIN SERVICES unpaid consumer contracts     PO BOX 194 ROSELAND NJ 07068                                                             $       567,495.25
DYATECH, LLC                                      3841 HIGHLAND COLONY PARKWAY RIDGELAND MS 39157                                          $           125.00
EDMUNDS.COM, INC.                                 P.O. BOX 783531 PHILADELPHIA PA 19178                                                    $         1,200.00
ELRAC LLC                                         657 64TH STREET BROOKLYN NY 11220                                                        $           375.57
EXOTIC MOTOR WORLD                                9014 4TH AVE BROOKLYN NY 11209                                                           $         7,768.40
EXPRESSWAY COLLISION                              211 VETERANS ROAD WEST STATEN ISLAND NY 10309                                            $         2,550.00
EZ PASS                                           PO BOX 149001 STATEN ISLAND NY 10314                                                     $           698.99
FCA US LLC                                        NE BUS CENTER 108 ROUTE 303 CIMB# 101-02-00 TAPPAN NY 10983                              $        60,000.00
FCA US LLC                                        C/O LEVENSON LAW GROUP 9 NORTH MILL STREET NYACK NY 10960                                Unliquidated
FCA US LLC                                        C/O NELSON MULLINS RILEY & SCARBOROUGH LLP 280 PARK PLACE 15TH FL W NY NY 10001          Unliquidated
FEDERAL EXPRESS                                   PO BOX 223125 PITTSBURGH PA 15251-2125                                                   $           323.82
FIFTH THIRD BANK                                  5001 KINGSLEY DR 1MOBA9 CINCINNATI OH 45227                                              $        36,890.99
FIFTH THIRD BANK, NATIONAL ASSOCIATION            C/O DINSMORE&SHOHL LLP 191 WEST NATIONWIDE BLVD STE 300 COLUMBUS OH 43215                $        35,134.52
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                    CREDITOR                                              ADDRESS                                                     AMOUNT
FINGERCHECK                           1000 GATES AVENUE BROOKLYN NY 11221                                                         $          1,265.00
FIVE BORO PNEU-TRONICS,INC.           801 EAST 42ND STREET BROOKLYN NY 11210                                                      $            382.03
FIVE STAR CARTING INC                 58-35 47TH ST MASPETH NY 11378                                                              $          2,724.83
FLAG CONTAINER SERVICES INC           11 FERRY ST STATEN ISLAND NY 10302                                                          $            339.42
FRED BEANS CHRYSLER DODGE JR          PO BOX 872 DOYLESTOWN PA 18901                                                              $          4,449.36
GENESIS AUTOMOTIVE MARKETING E        12277 APPLE VALLEY RD #244 APPLE VALLEY CA 92308                                            $          2,995.00
GENNADIY LITVAK                       C/O HENRY DALEY CITY OF NY MARSHALL 1 CROSS ISLAND PLAZA ROSEDALE NY 11422                  $          5,598.10
GREATAMERICA FINANCIAL SVCS.          PO BOX 660831 DALLAS TX 75266-0831                                                          $          2,056.32
HARBOR POINT SUPPLY                   C/O AMERIFACTORS PO BOX 628328 ORLANDO FL 32862-8328                                        $          4,916.43
HESHY GOTTDIENER                      50 HORTON DRIVE MONSEY NY 10952                                                             Unliquidated
HILNA MOTOR SERVICE CORP              2050 STILLWELL AVENUE BROOKLYN NY 11223                                                     $             97.00
IDEAL AUTO COLLISION INC              129 34TH STREET BROOKLYN NY 11232                                                           $            850.00
INNOVATIVE IT SOLUTIONS, INC          1631 42ND STREET BROOKLYN NY 11204                                                          $            337.52
INTERSTATE BATTERIES OF MANH          161 25TH STREET BROOKLYN NY 11232                                                           $          8,766.25
ISAAC J. STERN                        47 PARKER BLVD MONSEY NY 10952                                                              Unliquidated
JCAPS MECHANICAL LLC                  91 WHITMAN RD YONKERS NY 10710                                                              $            658.69
JIMMYS AUTO SERVICE CORP              248 42ND STREET BROOKYLN NY 11232                                                           $             60.53
JOES AUTO & TRUCK PARTS               797 4TH AVE BROOKLYN NY 11232                                                               $            125.00
JOSE C SANSUSTE                       6821 OWLS HEAD CT APT 3A BROOKLYN NY 11220                                                  $        17,343.00
KEA ADVERTISING INC.                  217 ROUTE 303 VALLEY COTTAGE NY 10989                                                       $            609.69
KINGS NISSAN                          2758 CONEY ISLAND AVENUE BROOKLYN NY 11235                                                  $            721.47
L&L COLLISSION RELEASE CAR COD        1347 W HURST BLVD HURST TX 76053                                                            $          2,539.54
L&S COLLISION                         41 RECTOR STREET STATEN ISLAND NY 10310                                                     $          3,252.30
LABONTE LAW GROUP, PLLC               1461 FRANKLIN AVE SUITE LL-S GARDEN CITY NY 11530                                           $        10,500.00
LEVENSON LAW LLC                      ATTN: SCOTT LEVENSON, ESQ., 15 NORTH MILL STREET, NYACK, NY 10960                           Unliquidated
LKQ HUNTS POINT AUTO                  1390 SPOFFORD AVE BRONX NY 10459                                                            $            400.00
MANHEIM                               COX AUTOMOTIVE INC. PO BOX 936622 ATLANTA GA 31193-6622                                     $          1,500.00
MARLIN BUSINESS BANK                  PO BOX 1626 MT. LAUREL NJ 08054                                                             $            619.81
MCKINNEY WELDING SUPPLY CO.,IN        1145 BRONX RIVER AVENUE BRONX NY 10472                                                      $            407.18
MG LUBE &OIL LLC                      1145 BRONX RIVER AVENUE BRONX NY 10472                                                      $          3,888.00
MLB LEASING                           2248 BERGEN AVE BROOKLYN NY 11234                                                           $          1,264.87
MONTAGE AUTO INC                      108 RYDER AVE BROOKLYN NY 11230                                                             $          1,000.00
MR AUTO TRIM                          1316 UTICA AVENUE BROOKLYN NY 11203                                                         $            520.00
NATIONAL GRID                         P.O.BOX 11741 NEWARK NJ 07101                                                               $          8,858.97
NEW GENERATION AUTO PARTS             529 63RD STREET BROOKLYN NY 11220                                                           $          8,736.08
NEXTEPPE BUSINESS SOLUTIONS, I        PO BOX 915 SAYVILLE NY 11782                                                                $          3,758.50
NY MOTO INC                           2160 NORTH CENTRAL RD STE 101 FORT LEE NJ 07024                                             $            660.00
NY TRANSPORT SOLUTION                 PO BOX 656614 FRESH MEADOWS NY 11365                                                        $          4,290.00
OPTIMUM                               1111 STEWART AVENUE BETHPAGE NY 11714-3581                                                  $            972.47
PAUL PAYNE                            C/O FERRO & STENZ 875 MERRICK AVENUE WESTBURY NY 11590-6603                                 Unliquidated
PAY-O-MATIC                           LOSS PREVENTION DEPT 166-30 JAMAICA AVE 2ND FLOOR QUEENS NY 11432                           $            569.58
PAYROLL TAX MANAGEMENT                1932 E DEERE AVE SUITE 200 SANTA ANA CA 92705                                               $       129,000.00
PITNEY BOWES INC                      PO BOX 371896 PITTSBURGH PA 15250                                                           $             81.62
PROMARK F&I SERVICES, LLC             30 JACKSON RD SUITE C-4 MEDFORD NJ 08055                                                    $          2,636.64
PROMAX                                2900 AAA COURT BETTENDORF IA 52722                                                          $          4,967.82
PURCHASE POWER                        PO BOX 371874 PITTSBURGH PA 15250                                                           $            415.98
PURECARS                              1447 PEACHTREE ST NE SUITE 900 ATLANTA GA 30309                                             $          1,450.00
READYFRESH                            PO BOX 856192 LOUISVILLE KY 40285                                                           $          1,223.27
RECEIVABLE MANAGEMENT SERVICES LLC    PO BOX 19646 MINNEAPOLIS MN 55419                                                           $             21.07
REDLINE AUTO LEASING                  158 MAIN STREET STATEN ISLAND NY 10308                                                      $          2,050.00
REVOLUTION PARTS                      PO BOX 61505 PHOENIX AZ 85082                                                               $          2,547.00
REYNOLDS & REYNOLDS                   PO BOX 182206 COLUMBUS OH 43218                                                             $          1,605.81
SANTANDER CONSUMER USA, INC.          CARE OF RUDOLPH J. MEOLA ESQ. 1822 WESTERN AVE ALBANY NY 12203                              $        13,144.15
SECURE AUTO SYSTEMS                   PO BOX 060878 STATEN ISLAND NY 10306-0009                                                   $            245.00
SHRED-IT                              C/O STERICYCLE INC. 28883 NETWORK PLACE CHICAGO IL 60673                                    $        13,629.29
SIEGEL DISTRIBUTING COMPANY IN        197 FOLK ROAD BREINIGSVILLE PA 18031                                                        $        30,857.86
SNYADS INSURANCE AGENCY, INC          37 ELK STREET PO BOX 7347 ALBANY NY 12207                                                   $            300.00
SOUTHWEST ADMINISTRATIVE SERVI        ATTN: OLE PROCESSING DEPT PO BOX 30250 ALBUQUERQUE NM 87190                                 $        31,654.00
SOUTHWEST REINSURE INC.               2400 LOUISIANA BLVD NE BLDG. 4 ALBUQUERQUE NEW MEXICO 87110                                 $     1,800,000.00
SOUTHWEST REINSURE INC.               THE MB&W BUILDING 26000 CANNON ROAD CLEVELAND OHIO 44146                                    $            860.98
STAPLES                               PO BOX 105638 ATLANTA GA 30348-5638                                                         $          4,576.94
STARION ENERGY                        P.O. BOX 845 MIDDLEBURY CT 06762                                                            $            283.63
STATE OF FLORIDA DISB UNIT            PO BOX 8500 TALLAHASSEE FL 32314-8500                                                       $             84.00
SUNOCO                                WEX BANK PO BOX 4337 CAROL STREAM IL 60197-4337                                             $          2,546.68
TD AUTO FINANCE                       6716 GRADE LANE BLDG 9 STE 910 LOUISVILLE KY 40213                                          $        40,098.20
TFCU (ALEX VANECH)                    C/O CAMPASANO LAW FIRM 2000 DEER PARK AVE DEER PARK NY 11729                                $        39,112.73
TIME WARNER CABLE                     PO BOX 11820 NEWARK NJ 07101                                                                $            259.18
TIRES 13 INC                          1291 UTICA AVE BROOKLYN NY 11203                                                            $          4,458.00
TORAH TIMES                           5014 16TH AVE SUITE 156 BROOKLYN NY 11204                                                   $          1,820.00
TOUCH OF GLASS                        2732 ATLANTIC AVE BROOKLYN NY 11207                                                         $          1,075.00
TRISTATE UPHOLSTERY LLC               504 4TH AVE ELIZABETH NJ 07202                                                              $            975.00
TRUECAR, INC.                         DEPT LA 24198 PASADENA CA 91185                                                             $          7,159.66
UAW LOCAL 259                         140 SYLVAN AVE SUITE 303 ENGLEWOOD CLIFF NJ 07632                                           $        17,613.47
UNITED AUTOMBILE WORKERS OF AMERICA   80 JERUSALEM AVENUE HICKSVILLE NY 11801-4904                                                $          1,332.83
UPS                                   PO BOX 809488 CHICAGO IL 60680                                                              $          1,226.58
USB DEALER SERVICES                   ATT: PAYOFF DEPT 6400 MAIN STREET AMHERST NY 14221                                          $        25,646.66
UTICA NATIONAL INSURANCE GROUP        P.O. BOX 6532 UTICA NY 13504                                                                $        10,554.00
VAL'S SECURITY SYSTEMS INC.           32 HALES AVENUE STATEN ISLAND NY 10312                                                      $            163.32
VAUTO                                 PO BOX 935202 ATLANTA GA 31193                                                              $          8,410.58
VERIZON WIRELESS                      PO BOX 408 NEWARK NJ 07101                                                                  $            254.25
VOCATECH                              5314 18TH AVENUE BROOKLYN NY 11204                                                          $          4,091.74
WEX BANK                              P.O. BOX 4337 CAROL STREAM IL 60197                                                         $          2,546.68
WEX BANK                              C/O GREENBERGGRANT&RICHARDS INC. PO BOX 571811 HOUSTON TEXAS 77257-1811                     For notice purposes
WHOLESALE AUTO SUPPLY CO INC          22 FLORENCE STREET PO BOX 2166 SOUTH HACKENSACK NJ 07606                                    $          4,994.25
YELLOW BIRD AUTO CENTER, INC          6302 16TH AVE BROOKLYN NY 11204                                                             $          6,869.38
                                                                                                                   TOTAL
                                                                                                                   UNSECURED $          7,507,423.73

                                                                                                                   Secured        $    18,523,718.73
                                                                                                                   Priority Tax   $       531,945.95
                                                                                                                   Unsecured      $     7,507,423.73
                                                                                                                   Total Debt:    $    26,563,088.41
